                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )           No. 3:11-00194
                                                  )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                            )


                                               ORDER

       Pending before the Court is Defendant Rivers’ Renewed Petition For Order To Have

Lap-top In The R.C.D.C. Facility Also I-Pod (Docket No. 1054). The Petition was discussed at a

hearing on January 23, 2013. For the reasons stated on the record at that hearing, the Petition is

GRANTED. Accordingly, the Robertson County Detention Center is ordered to permit

Defendant Rivers to utilize a laptop and external hard drive, subject to all the security

requirements and procedures of the facility.

       It is so ORDERED.



                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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